Case 1:20-cr-00195-JKB Document 66 Filed 05/05/21 Page 1 of 12

U.S. Department of Justice

 

 

United States Attorney
District of Maryland
it
Sac
Zachary A. Myers Suite 400 i DIRECT: 410-209-4848-4°,
Assistant United States Attorney 36 §. Charles Street T~ MAIN.410-209-4800% -
Zachary. Myers @usdoj.gov Baltimore, MD 21261-3119

HE pe gd i oa a
LEE. E28 2F . (x \

. \ aan ti an
April 13, 2021 Ba og
\ oe, =
Nate Smith, Esq. mi ma =
Brendan Hurson, Esq. . c =,
Assistant Federal Public Defenders ~<

100 S. Charles Street
Tower II, Floor 9

Baltimore, Maryland 21201

Re: United States v. Jordan K. Milleson, Criminal No. JKB-20-195

Dear Counsel:

This letter, together with the Sealed Supplement, confirms the plea agreement (this
“A sreement”) that has been offered to your client, Jordan K. Milleson (hereinafter “Defendant’),
by the United States Attomey’s Office for the District of Maryland (“this Office”). Ifthe Defendant
accepts this offer, please have the Defendant execute it in the spaces provided below. If this offer

has notbeen accepted by April 16, 2021, it will be deemed withdrawn. The terms of the Agreement
are as follows:

Offense of Conviction

\. The Defendant agrees to plead guilty to Count Thirteen of the Superseding Indictment,
which charges him with Aggravated Identity Theft, in violation of 18 U.S.C. § 1028A. The
Defendant admits that he is, in fact, guilty of the offense and will so advise the Court.

Elements of the Offense

2. The elements of the offense to which the Defendant has agreed to plead guilty, and which
this Office would prove if the case went to trial, are as follows: That on or about the time alleged
in the Superseding Indictment, in the District of Maryland,

The Defendant knowingly transferred, possessed, or used;
Without lawful authority;
Means of identification of another person;

Duringand in relation toa felony enumerated in 18 U.S.C. § 1028A(c), specifically,
Wire Fraud in violation of 18 U.S.C. § 1343.

aogcp

FAR~HIO-9699716-5 o2

Lory
Case 1:20-cr-00195-JKB Document 66 Filed 05/05/21 Page 2 of 12

 

 

 

 

 

 

 

 

 

 

 

Penalties
3. The maximum penalties provided by statute for the offense(s) to which the Defendant is
pleading guilty are as follows:
CT. | STATUTE MAND. MAX MAX SUPERVISED | MAX | SPECIAL
MIN. . :| IMPRISON- RELEASE FINE | ASSESS-
IMPRISON- MENT MENT
MENT
13 | 18U.S8.C.§ | 2 years 2 years 1 year $250,000 | $100
1028A
a. Prison: If the Court orders a term of imprisonment, the Bureau of Prisons has sole

discretion to designate the institution at which it will be served.

b. Supervised Release: If the Court orders a term of supervised release, and the
Defendant violates the conditions of supervised release, the Court may order the Defendant
returned to custody to serve a term of imprisonment up to the entire original term of supervised
release if permitted by statute, followed by an additional term of supervised release.

c. Restitution: The Court may order the Defendant to pay restitution pursuant to
18 U.S.C. §§ 3663, 3663A, 3664, and 1593. The parties stipulate and agree that the mandatory
restitution provisions of 18 U.S.C. § 3663A apply, and that restitution should be ordered to the
victims as follows, in addition to restitution to Individual Victim 6, to be determined at or before
sentencing (without precluding any victim from filing an additional claim for restitution as
authorized by statute):

 

AVIGTIM HAR ER | IRESTITUTION®:
Individual Victim 3 [$16,847.47
Individual Victim 5_| $2,182.0] 3h} a
Individual Victin6 | $3,000
Individual Victim 7 | $12,300

 

 

 

 

 

 

 

 

The parties further stipulate and agree that 0.1995824 Bitcoin Seized from an Exodus software
wallet owned by the defendant on July 29, 2020, wiil be applied towards the defendant’s restitution
obligations:

b. Payment: Ifa fine or restitution is imposed, itshall be payable immediately, unless
the Court orders otherwise under 18 U.S.C. § 3572(d). The Defendant may be required to pay
interest if the fine is not paid when due.

c. Collection of Debts: If the Court imposes a fine or restitution, this Office’s
Financial Litigation Unit will be responsible for collecting the debt. If the Court establishes a
schedule of payments, the Defendant agrees that: (1) the full amount of the fine or restitution is
nonetheless due and owing immediately; (2) the schedule of payments is merely a minimum
schedule of payments and not the only method, nora limitation on the methods, available to the
United States to enforce the judgment; and (3) the United States may fully employ all powers to
collect on the total amount of the debt as provided by !aw. Until the debt is paid, the Defendant

Page 2 of 7
Case 1:20-cr-00195-JKB Document 66 Filed 05/05/21 Page 3 of 12

agrees to disclose all assets in which the Defendant has any interest or over which the Defendant
exercises direct or indirect control, Until the money judgmentis satisfied, the Defendant authorizes
this Office to obtain a credit report in order to evaluate the Defendant’s ability to pay, and to
request and review the Defendant’s federal and state income tax returns. The Defendant agrees to
complete and sign a copy of IRS Form 8821 (relating to the voluntary disclosure of federal tax
return information) and a financial statement in a form provided by this Office.

Waiver of Rights

4, The Defendant understands that by entering into this Agreement, the Defendant surrenders
certain rights as outlined below:

a. If the Defendant had pled not guilty and persisted in that plea, the Defendant would
have had the right to a speedy jury trial with the close assistance of competent counsel. That trial
could be conducted by a judge, without a jury, if the Defendant, this Office, and the Court all
agreed.

b, If the Defendant elected a jury trial, the jury would be composed of twelve
individuals selected from the community. Counsel and the Defendant would have the opportunity
to challenge prospective jurors who demonstrated bias or who were otherwise unqualified, and
would have the opportunity to strike a certain number of jurors peremptorily. All twelve jurors
would have to agree unanimously before.the Defendant could be found guilty of any count. The
jury would be instructed that the Defendant was presumed to be innocent, and that presumption
could be overcome only by proof beyond a reasonable doubt.

C. If the Defendant went to trial, the government would have the burden of proving
the Defendant guilty beyond a reasonable doubt. The Defendant would have the right to confront
and cross-examine the government’s witnesses. The Defendant would not have to present any
defense witnesses or evidence whatsoever. If the Defendant wanted to call witnesses in defense,
however, the Defendant would have the subpoena power of the Court to compel the witnesses to
attend.

d. The Defendant would have the right to testify in the Defendant’s own defense if the
Defendant so chose, and the Defendant would have the right to refuse to testify. If the Defendant
chose notto testify, the Courtcould instruct the jury thatthey could notdraw any adverse inference
from the Defendant’s decision not to testify.

e. If the Defendant were found guilty after a trial, the Defendant would have the right
to appeal the verdict and the Court’s pretrial and trial decisions on the admissibility of evidence to
see if any errors were committed which would require a new trial or dismissal of the charges. By
pleading guilty, the Defendant knowingly gives up the right to appeal the verdict and the Court's
decisions.

f. By pleading guilty, the Defendant will be giving up all of these rights, except the
right, under the limited circumstances set forth in the “Waiver of Appeal” paragraph below, to
appeal the sentence. By pleading guilty, the Defendant understands that the Defendant may have
to answer the Court’s questions both about the rights being given up and about the facts of the

Page 3 of 7
Case 1:20-cr-00195-JKB Document 66 Filed 05/05/21 Page 4 of 12

case. Any statements that the Defendant makes during such a hearing would not be admissible
against the Defendant during a trial except in a criminal proceeding for perjury or false statement.

g. If the Court accepts the Defendant’s plea of guilty, the Defendant will be giving up
the right to file and have the Court rule on pretrial motions, and there will be no further trial or
proceeding of any kind in the above-referenced criminal case, and the Court will find the
Defendant guilty.

h. By pleading guilty, the Defendant will also be giving up certain valuable civil rights
and may be subject to deportation or other loss of immigration status, including possible
denaturalization. The Defendant recognizes that if the Defendant is not a citizen of the United
States, or is a naturalized citizen, pleading guilty may have consequences with respect to the
Defendant’s immigration status. Under federal law, conviction fora broad range of crimes can
lead to adverse immigration consequences, including automatic removal from the United States.
Removal and other immigration consequences are the subject of a separate proceeding, however,
and the Defendant understands that no one, including the Defendant’s attorney or the Court, can
predict with certainty the effectof a conviction on immigration status. The Defendant is notrelying
on any promise or belief about the immigration consequences of pleading guilty. The Defendant
nevertheless affirms that the Defendant wants to plead guilty regardless of any potential
immigration consequences.

Advisory Sentencing Guidelines Apply

5. The Defendant understands that the Court will determine a sentencing guidelines range for
this case (henceforth the “advisory guidelines range”) pursuant to the Sentencing Reform Act of
1984 at 18 U.S.C. §§ 3551-3742 (excepting 18 U.S.C. § 3553(b)(1) and 3742(e)) and
28 U.S.C. §§ 991 through 998. The Defendant further understands that the Court will impose a
sentence pursuant to the Sentencing Reform Act, as excised, and must take into account the
advisory guidelines range in establishing a reasonable sentence.

Factual and Advisory Guidelines Stipulation

6. This Office and the Defendant stipulate and agree to the Statement of Facts set forth in
Attachment A, which is incorporated by reference herein. This Office and the Defendant further
agrees that the applicable guidelines are as follows:

a. Advisory Sentence: Pursuant to U.S.S.G. § 2B1.6, the guideline sentence is the
two-year term of imprisonment required by statute. Chapters Three (Adjustments) and Four
(Criminal History and Criminal Livelihood) shall not apply.

7. There is no agreement as to the Defendant’s criminal history.
8. Other than as set forth above, no other offense characteristics, sentencing guidelines

factors, potential departures or adjustments set forth in the United States Sentencing Guidelines
are in dispute or will be raised in calculating the advisory guidelines range.

Page 4 of 7
Case 1:20-cr-00195-JKB Document 66 Filed 05/05/21 Page 5 of 12

Obligations of the Parties

9, At the time of sentencing, this Office and the Defendant will jointly recommend a sentence
of two years’ imprisonment, followed by 1 year of supervised release. This Office reserves the
right to bring to the Court’s attention all information with respect to the Defendant’s background,
character, and conduct that this Office deems relevant to sentencing, including the conduct that is
the subject of the Superseding Indictment. At the time of sentencing, this Office will move to
dismiss any open counts against the Defendant.

10. Atorpriorto sentencing, the Defendant agrees to execute necessary documents to abandon
the following property to the United States:

a. Acer Nitro laptop, Serial Number: NHQ3 YAA001910023DA3400
b. iPhone mobile phone, IMEI: 0147360000506 10
c. iPhone mobile phone, IMEI: 35569507775 3471
d. iPhone mobile phone, IMEI: 358684091 489210
e. iPhone mobile phone, IMEI: 35726909325985
| f. 1 Trezor hardware wallet
g. Miscellaneous SIM Cards

h. 0.1995824 Bitcoin Seized from an Exodus software wallet

Waiver of Appeal

11. | Inexchange for the concessions made by this Office and the Defendant in this Agreement,
this Office and the Defendant waive their rights to appeal as follows:

a. The Defendant knowingly waives all right, pursuant to 28 U.S.C. § 1291 or any
other statute or constitutional provision, to appeal the Defendant’s conviction on any ground
whatsoever. This includes a waiver of all right to appeal the Defendant’s conviction on the ground
that the statute to which the Defendant is pleading guilty is unconstitutional, or on the ground that
the admitted conduct does not fall within the scope of the statute.

b. The Defendant and this Office knowingly and expressly waive all rights conferred
by 18 U.S.C. § 3742 to appeal whatever sentence is imposed (including any term of imprisonment,
fine, term of supervised release, or order of restitution) for any reason (including the establishment
of the advisory sentencing guidelines range, the determination of the Defendant’s criminal history,
the weighing of the sentencing factors, and any constitutional challenges to the calculation and
imposition of any term of imprisonment, fine, order of forfeiture, order of restitution, and term or
condition of supervised release), except as follows:

(i) The Defendant reserves the right to appeal any sentence that exceeds the
statutory maximum; and

Page 5 of 7
Case 1:20-cr-00195-JKB Document 66 Filed 05/05/21 Page 6 of 12

(ii} This Office reserves the right to appeal any sentence below a statutory
minimum.

c. The Defendant waives any and all rights under the Freedom of Information Act
relating to the investigation and prosecution of the above-captioned matter and agrees not to file
any request for documents from this Office or any investigating agency.

Defendant’s Conduct Prior to Sentencing and Breach

12. sa. Between now and the date of the sentencing, the Defendant will not engage in
conduct that constitutes obstruction of justice under U.S.S.G. § 3C1.1; will not violate any federal,
state, or local law; will acknowledge guilt to the probation officer and the Court; will be truthful
in any statementto the Court, this Office, law enforcement agents, and probation officers; will
cooperate in the preparation of the presentence report; and will not move to withdraw from the
plea of guilty or from this Agreement.

b. If the Defendant engages in conduct prior to sentencing that violates the above
paragraph of this Agreement, and the Court finds a violation by a preponderance of the evidence,
then: (i) this Office will be free from its obligations under this Agreement; (ii) this Office may
make sentencing arguments and recommendations different from those set out in this Agreement,
and (iii) in any criminal or civil proceeding, this Office will be free to use against the Defendant
all statements made by the Defendant and any of the information or materials provided by the
Defendant, including statements, information, and materials provided pursuant to this Agreement,
and statements made during proceedings before the Court pursuant to Rule 11 of the Federal Rules
of Criminal Procedure. A determination that this Office is released from its obligations under this
Agreement will not permit the Defendant to withdraw the guilty plea. The Defendant
acknowledges that the Defendant may not withdraw the Defendant’s guilty plea if the Court finds
that the Defendant breached the Agreement. In that event, neither the Court nor the Government
will be bound by the specific sentence or sentencing range agreed and stipulated to herein.

Court Nota Party

13. The Court is nota party to this Agreement. The sentence to be imposed is within the sole
discretion of the Court. The Court is not bound by the Sentencing Guidelines stipulation in this
Agreement. The Court will determine the facts relevant to sentencing. The Court is not required
to accept any recommendation or stipulation of the parties. The Court has the power to impose a
sentence up to the maximum penalty allowed by law. If the Court makes sentencing findings
different from those stipulated in this Agreement, or if the Court imposes any sentence up to the
maximum allowed by statute, the Defendant will remain bound to fulfill all of the obligations under
this Agreement. Neither the prosecutor, defense counsel, nor the Court can make a binding
prediction, promise, or representation as to what guidelines range or sentence the Defendant will
receive. The Defendant agrees that no one has made sucha binding prediction or promise.

Entire Agreement

14. This letter, together with the Sealed Supplement, constitutes the complete plea agreement
in this case. This letter, together with the Sealed Supplement, supersedes any prior understandings,
promises, or conditions between this Office and the Defendant. There are no other agreements,

Page 6 of 7
Case 1:20-cr-00195-JKB Document 66 Filed 05/05/21 Page 7 of 12

promises, undertakings, or understandings between the Defendant and this Office other than those
set forth in this letter and the Sealed Supplement, No changes to this Agreement will be effective
unless in writing, signed by all parties and approved by the Court.

if the Defendant fully accepts each and every term and condition of this Agreement, please
sign and have the Defendant sign the original and return it to me promptly.

Very truly yours,

Jonathan F. Lenzner
Acting United States Attorney |

By:
Zachary A. Myers

Christopher M. Rigali

Assistant United States Attorneys

 

I have read this Agreement, including the Sealed Supplement, and carefully reviewed every part
of it with my attorney. I understand it and I voluntarily agree to it. Specifically, Ihave reviewed
the Factual and Advisory Guidelines Stipulation with my attorney and I do not wish to change any
part of it. | am completely satisfied with the representation of my attorney.

04/23/2021 J , 4 ' Wes
EE . A ™ - rs =

. Date rdan K, Milleson

We are the Defendant’s attorneys. We have carefully reviewed every part of this Agreement,
including the Sealed Supplement with the Defendant. The Defendant advises us thatthe Defendant
understands and accepts its terms. To our knowledge, the Defendant’s decision to enter into this
Agreement is an informed and voluntary one.

04/28/2021 (_ —

Date Nate Smith, Esq.
Brendan Hurson, Esq.

 

Page 7 of7
Case 1:20-cr-00195-JKB Document 66 Filed 05/05/21 Page 8 of 12

ATTACHMENT A
STIPULATION OF FACTS

The undersigned parties stipulate and agree that if this case had proceeded to trial, this
Office would have proven the following facts beyond a reasonable doubt. The undersigned parties

also stipulate and agree that the following facts do not encompass all of the evidence that would
have been presented had this matter proceeded to trial.

Since at least September 23, 2017, the defendant, Jordan K. Milleson of Maryland, has
been a computer “hacker,” who accessed various computers, computer networks, and electronic

accounts without authorization, which allowed him to carry out and further various criminal
offenses and schemes.

One component of Milleson’s online criminal activities has been obtaining through
deceitful means the credentials of others, which has allowed him to access and steal things of
value, such as cryptocurrency and social media accounts. To do this, Milleson set up internet
domains and fraudulent websites, designed to appear to be legitimate websites (including the
websites of wireless providers), which were in fact designed to steal account credentials. Milleson
used techniques such as phishing and vishing to deceive victims into visiting the fraudulent
websites, where the victims would provide account credentials. For example, Milleson and his co-
conspirators posed as wireless-carrier help desk technicians and called unsuspecting wireless retail
store employees to induce them into turning over their network login credentials. The caller would
direct the employees to a phishing website designed to look like an authentic wireless carrier
internal network login page. The conspirators would steal the login credentials through the

phishing websites or by tricking the employee into giving the caller remote desktop access to the
mobile carrier network system.

Milleson and others used electronic account credentials stolen from employees and
affiliates of wireless phone providers to access those companies’ computer networks without
authorization. After obtaining unauthorized access to the computer networks of wireless providers,
Milleson and others executed SIM swapping attacks against customers of the wireless providers,
most of whom were specifically targeted as holders of cryptocurrency, enabling him and co-
conspirators to take contro! over the customers’ wireless accounts. Once in control of these
customers’ wireless accounts, Milleson and others used account security features linked to these
compromised mobile phone numbers to take over the mobile phone customer’s online accounts,

including email and digital currency accounts, facilitating his and his co-conspirators’ thefts of
accounts and digital currency.

Between September 23, 2017, and July 29, 2020, Milleson engaged in many such schemes,
including the following:

tes co ye
a =
~ ms sha
c
| pS m= Be
4p, Te OE
| toc oe
t we oe
mA eg CEE:
—- an
, ft mm: ;
ca Gaon = Ae
“oe a
MomAe e Re
= mr a me
4 ie
1 —< Ht oO
Case 1:20-cr-00195-JKB Document 66 Filed 05/05/21 Page 9 of 12

Milleson’s Phishing and Theft of Accounts Belonging to Individual Victims 1 and 6

“Individual Victim 1” was a resident of Alabama, who published content on a variety of
social media platforms, including YouTube, Instagram, Snapchat, and Twitter. Individual Victim ]
had hundreds of thousands of followers across their accounts, and was able to monetize them
through techniques such as sponsored links, product placements, and product reviews.

On September 23, 2017, Milleson sent a phishing email to Individual Victim 1 that
appeared to be a legitimate email from Instagram. The email included a link to a fraudulent domain
owned by Milleson, which was used to host a phishing website resembling a legitimate Instagram
webpage. Through this website, Milleson stole Individual Victim 1’s password. Milleson used this
stolen password to take over Individual Victim 1’s Snapchat account. Milleson changed the
account’s email address and password, preventing Individual Victim 1 from accessing their
account, and posted material to the accounts without the user’s authorization.

“Individual Victim 6” was a resident of Iowa, who published content on a variety of social
media platforms, including YouTube, Instagram, and Twitter. Individual Victim 6 had hundreds
of thousands of followers across their accounts, and was able to monetize them through techniques
such as sponsored links, product placements, and product reviews.

On approximately September 24, 2017, Milleson used a stolen password to take over
Individual Victim 6’s Instagram account. Milleson changed the account’s email address and
password, preventing Individual Victim 6 from accessing their account, and posted material to the
account without the user’s authorization. At the time of the account takeover, Individual Victim 6
maintained approximately 50,000 followers on their Instagram account, and had successfully
brokered “brand deals” linked to their YouTube account, as advertised through their Instagram
and other social media accounts. Asa result of the takeover, Individual Victim 6 lost all of their
Instagram followers and was unable to advertise to them. Because of this promotional interference,
Individual Victim 6 losttheir “brand deals,” the proceedsof which had been used to pay for college
tuition, transportation, and groceries.

Login credentials and passwords belonging to Individual Victims 1 and 6 were located on
Milleson’s computers when they were searched pursuant to search warrants.

Milleson’s Theft of Cryptocurrency and Accounts Belonging to
Individual Victims 3,4, and 5

Individual Victim 5 worked for a cryptocurrency investment firm. On June 14, 2019,
Individual Victim 5’s mobile phone stopped working as a result of a SIM swapping attack against
his account. That day, an unauthorized user accessed Individual Victim 5’s digital currency
accounts at three different exchanges. The unauthorized user successfully transfered
cryptocurrency valued ata total of approximately $2,182.01 atthe time from Individual Victim
5’s exchange account. Milleson’s electronic devices were later searched and investigators found
references to Individual Victim 5 on the devices, including logs showing a successful login to
Individual Victim 5’s cryptocurrency account and transfer of eryptocurrency on June 14,2019.

On June 17, 2019, Milleson registered a fraudulent internet domain with a name designed
to deceive others to believe it was associated with a wireless telephone provider. The fraudulent
website hosted at the domain Milleson registered was designed to steal the login credentials of
legitimate users of the wireless provider’s computer networks, enabling Milleson to execute SIM
swapping attacks against the company’s customers. Individual Victim 2 was an employee of a
third-party retailer for the wireless provider, who had access to the company’s computer networks.
Case 1:20-cr-00195-JKB Document 66 Filed 05/05/21 Page 10 of 12

On June 25, 2019, Milleson and others used the credentials of Individual Victim 2 to gain
unauthorized access to the wireless provider's computer network and execute SIM swapping
attacks, taking control of the wireless calls and text messages sent to the accounts of Individual
Victim 3, Individual Victim 4, and Individual Victim 5.

Individual Victim 3 was the owner of a digital currency investment and social media
marketing company. On June 25, 2019, Milleson and others took unauthorized control of
Individual Victim 3’s account with a digital currency exchange and fraudulently transferred digital
currency, valued at approximately $16,847.47 at the time, from Individual Victim 3°s account
During the SIM swapping and theft of Individual Victim 3’s digital currency, Milleson and his co-
conspirators communicated about their actions in real-time using electronic messaging
applications. The messages showed that the co-conspirators divided up tasks during the offenses,
for example, others held wireless devices used to intercept two-factor authentication codes sent to
Individual Victim 3’s wireless number. Milleson was responsible for using compromised
credentials to access Individual Victim 3’s digital currency account and make fraudulent transfers
to accounts Milleson controlled.

Individual Victim 4 had an Instagram account with a two-character username, coveted by
other social media users for its uniqueness and simplicity. On or about June 25, 2019, Milleson
took unauthorized control of Individual Victim 4’s Instagram account.

Milleson is “Swatted” by his Co-Conspirators

On June 26, 2019, the Baltimore County Police Department (“BCoPD”) received a call
from an unknown male subject claiming that he allegedly shot his father and was threatening to
shoot himself. The male caller stated he was at Milleson’s home address and advised he was still
armed with a handgun. During the call, the unknown male subject refused and threatened to shoot
police if confronted.

The BCoPD dispatched patrol officers to respond to Milleson’s address and established a
command post in preparation for a barricade situation. Officers subsequently learned, however,
that there was no true emergency situation at the Milleson residence.

Officers interviewed Milleson’s father, who informed officers he believed he and his
family were victims of a “swatting” incident. “Swatting” refers to a criminal harassment tactic
whereby a person places a false call to emergency services such as a bomb threat or hostage
situation to trigger a police force and/or a special weapons and tactics (“SWAT”) team response
to a specific address—thereby causing a life-threatening situation. Milleson’s father reported that
just prior to the police contact, they received a phone call from an unknown person who told
Milleson’s father that Milleson stole $20,000 from him. The caller also told him that Milleson was
a hacker that went by the alias “Chikri.” According to Milleson’s father, Milleson grew concemed
when he learned of the impending police response, and attempted to conduct a factory reset of the
operating system on the family’s personal computer in an effort to wipe the device.

Investigators seized digital devices from Milleson, including computers and mobile
devices, and later searched them pursuant to search warrants. Investigators located evidence on
Milleson’s devices showing they were used in the course of SIM swapping and hacking offenses,
including the theft of accounts and cryptocurrency from Individual Victims 1-6. Milleson later
admitted that he believed he was “swatted” by his co-conspirators because he initially failed to
share the money that had been stolen from Individual Victim 3.
Case 1:20-cr-00195-JKB Document 66 Filed 05/05/21 Page 11 of 12

Milleson’s Theft of Cryptocurrency from Individual Victim 7

On January 25, 2020, Individual Victim 7’s mobile phone stopped working as a result of a
SIM swapping attack. Soon thereafter, Individual Victim 7’s personal email password was reset
without authorization. An unauthorized user then accessed Individual Victim 7’s account on a
digital currency exchange and stole various digital currencies worth approximately $12,300 at the
time.

The Arrest of Milleson and Recovery of Additional Evidence

Following his indictment, Milleson’s home was searched on July 29, 2020. In the course
of the search, law enforcement officers recovered mobile devices from Milleson’s residence that
had been paired with several different wireless phone numbers, including that of Individual Victm
7. Review of the devices seized from Milleson showed that they were used to complete two-factor
authentication password resets for several! electronic and digital currency accounts, including
Individual Victim 7’s digital currency exchange account.

Investigators also recovered chats between Milleson and his co-conspirators evidencing
their unlawful schemes. In connection with the cryptocurrency theft from Individual Victim 3, for
example, investigators found online chats between Milleson, using an anonymous screenname,
and two co-conspirators, one of whom used the name, “cececc#2222” (Co-Conspirator 1). In these
chats, Milleson would ask Co-Conspirator | for “codes,” which were two-factor authentication
codes being sent to a device held by Co-Conspirator |. After Milleson and the Co-Conspirators
gained access to Individual Victim 3’s cryptocurrency exchange account, Milleson wrote, “16k.”
Co-Conspirator | responded, “transfer... through coinbase.” The other co-conspirator then wrote,
“how long is it gna take jordy,” and “so the 16k going to Jordy coimbase [sic].” After Milleson
failed to respond to his co-conspirators, Co-Conspirator | wrote, among other things, “you better
hope no one has info on you.” Co-Conspirator 1 also asked others if they had Chikri’s “dox,”
meaning information about his true identity. Later, Co-Conspirator 1 wrote about the deal that
Milleson (“Jordy”) “snaked him” despite Co-Conspirator 1 walking Milleson through the theft and
“helpfing] [Milleson] clean it.”
Case 1:20-cr-00195-JKB Document 66 Filed 05/05/21 Page 12 of 12

Milleson was interviewed and admitted to taking part in numerous SIM swaps and
cryptocurrency thefts, which he believed aggregated to approximately $200,000 worth of
stolen cryptocurrency, an amount investigators have been unable to confirm. Milleson
admitted his role in the theft of cryptocurrency from Individual Victim 3, as well as the theft of
Individual Victim 1’s Snapchat account.

SO STIPULATED:

 

Zachary A. Myers
a we Christopher M. Rigali .

 
   

flordan K. Milleson
. Defendant

Nate Smith, Esq.
Brendan Hurson, Esq.
Counsel for Defendant

 
